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                    IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                           IN AND FOR THE COUNTY OF PIERCE

 8    JOSEPH JIMENEZ,
                                                      Plaintiff, NO.
 9                    V.
                                                                 COMPLAINT
10    WALMART,INC., a foreign corporation, d/b/a
      WALMART #4137, and J. Does 1-10;
11
                                                  Defendants.
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             The Plaintiff, Joseph Jimenez, for his cause of action against the Defendants, and each of
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     them, alleges as follows:
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                                 I. PARTIES,JURISDICTION & VENUE
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             1.     The Plaintiff, Joseph Jimenez, is now, and was at all times material hereto, a
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     married man, and resident ofPierce County, Washington.
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            2.      Upon information and belief, the Defendant Walmart, Inc., d/b/a Walmart Super
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     Center #4137, is now and was at all times material hereto, a foreign corporation which owns
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     property and transacts business in Pierce County, Washington.
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            3.      Upon information and belief, Defendants J. Does 1-10, are natural persons whose
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     true identities are currently unknown to Plaintiff. These individuals may share some responsibility
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     for Plaintiff's injuries, and their identities are unknown to Plaintiff
24    COMPLAINT                                                                     Wattel & York,LLC
                                                                                     6314 19th St W Ste 15
      PAGE 1 of4                                                                    Fircrest, WA 98466-6223
                                                                                      Tel:(253)471-1075
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 1            4.    All acts and omissions alleged herein occurred in Tacoma, Pierce County,

 2   Washington. Venue is proper in Pierce County.

 3                       II. CLAIM FOR NEGLIGENCE AGAINST DEFENDANTS

 4            5.    On or about December 19,2019, plaintiff, Joseph Jimenez,was a guest and business

 5   invitee of Walmart, Inc., dba Walmart Super Center #4137, 1965 S. Union Ave., Tacoma, WA.

 6   While at the facility, Plaintiff was injured when he entered the store and slipped on water on the

 7   floor.

 8            6.    Defendant Walmart, Inc. dba Super Center #4137, its owners, managers, agents

 9   and/or employees J. Doe 1-10 owed Plaintiff a duty ofcare. This included a duty to use reasonable

10   care to maintain the shopping areas and walkways in a safe manner to prevent the creation of a

11   dangerous situation, a duty to use reasonable care to repair any dangerous condition, a duty to warn

12   of dangerous conditions, a duty to inspect for dangerous conditions, and a duty to protect Plaintiff

13   against known dangers.

14            7.    Defendant Walmart, Inc. dba Super Center #4137, its owners, managers, agents

15   and/or employees J. Doe 1-10 breached their duties of care by creating a dangerous condition and

16   by failing to warn Plaintiff of the dangerous condition.

17            8.    Defendants Walmart, Inc. dba Super Center #4137, its owners, managers, agents

18   and/or employees J. Doe 1-10 acted within the scope oftheir agency or employment with Walmart,

19   Inc. Defendant Walmart, Inc. is vicariously liable for the acts or omissions of Defendants John

20   Does 1-5.

21            9.    Defendant Walmart, Inc., dba Super Center #4137, its owners, managers, agents

22   and/or employees, and J. Doe 1-10 negligently failed to provide a safe environment for its guests

23   and business invitees.

24    COMPLAINT                                                                      Wattel & York,LLC
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 1           10.      Defendants Walmart, Inc., dba Super Center #4137, its owners, managers, agents

 2   and/or employees, and J. Doe 1-10 negligently failed to supervise the area to prevent injury to their

 3   patrons.

 4           1 1.    As a proximate result of the negligence of Walmart, Inc., dba Super Center #4137,

 5   its owners, managers, agents and/or employees, and J. Doe 1-10, Plaintiff, Joseph Jimenez suffered

 6   a serious injury.

 7           12.     Defendant Walmart, Inc. dba Super Center #4137, its owners, managers, agents

 8   and/or employees J. Doe 1-10 breached their duties of care by creating a dangerous condition and

 9   by failing to warn Plaintiff of the dangerous condition.

10           13.     Defendants Walmart, Inc. dba Super Center #4137, its owners, managers, agents

11   and/or employees J. Doe 1-10 acted within the scope oftheir agency or employment with Walmart,

12   Inc. Defendant Walmart, Inc. is vicariously liable for the acts or omissions of Defendants John

13   Does 1-5.

14                                                  III. DAMAGES

15           15.     As a direct and proximate result of all Defendants' negligence, Plaintiff Joseph

16   Jimenez has suffered substantial injury. Although Plaintiff resorted to medical attention and

17   supportive remedies, his injuries, pain, and discomfort now prevail and will continue to prevail for

18   an indefinite time into the future. It is impossible at this time to characterize the full nature, extent,

19   severity and duration of said injuries, but they are alleged to be permanent, progressive and

20   disabling in nature. Plaintiff as incurred and will likely continue to incur medical expenses and

21   other expenses to be proved at the time of trial, all to his general damage, in an amount now

22   unknown.

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24    COMPLAINT                                                                          Wattel & York, LLC
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 I             WHEREFORE, the Plaintiff Joseph Jimenez prays for judgment against the Defendants

 2   Walmart, Inc. dba Super Center #4137, its owners, managers, agents and/or employees J. Doe 1-

 3   10, and each of them,jointly and severally, in an amount that will fairly compensate him for all

 4   damages sustained, costs and reasonable attorneys' fees, pre-judgment and post-judgment interest

 5   calculated at the maximum amount allowable by law, and all other relief the Court deems fair and

 6   just.

 7             Dated this   I   day of                          , 2022.

 8                                       Wattel & York, LLC

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                                         ZacjiJ. Hansen, WSBA #41827
11                                       Attorneys for the Plaintiffs

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24   COMPLAINT                                                                   Wattel & York,LLC
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